                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )      08-00297-01,05,09, and 12-CR-W-FJG
v.                                           )
                                             )
ANGELA CLARK,                                )
CYNTHIA JORDAN,                              )
ANAHIT NSHANIAN, and                         )
ENRICO MCCLAIN,                              )
                Defendants.                  )


                     MEMORANDUM OF MATTERS DISCUSSED AND
                      ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGE: On October 29, 2008, the Grand Jury returned a thirty-four count
indictment against defendants Angela R. Clark, Jerome Shade Howard, Ronald E. Brown, Jr., Stefan
M. Guerra, Cynthia D. Jordan, James F. Simpson, Steven M. Salas, Michael Conrad Smith, Anahit
Nshanian, Cheryl Ann Romero, Mark Whitney Jackson, Enrico J. McClain, Daryle A. Edwards,
Gerald D. Williams, Judith E. Williams, Leon T. Jones, and Willie Charles Cadenhead.1 Count One
of the indictment charges that beginning on or about February 2005, and continuing through on or
about May 21, 2007, all of the indicted defendants conspired to obtain money from mortgage lenders
and title companies, and to retain the money obtained, by means of false and fraudulent pretenses,
representations and promises, and that in the execution of the scheme defendants transported in
interstate commerce money taken by fraud and caused to be transmitted in interstate commerce wire
communications by fax and electronic mail. The remaining counts charge various defendants with
interstate transportation of money obtained by fraud, wire fraud, and engaging in monetary
transactions in property derived from specified unlawful activity.

The following matters were discussed and action taken during the pretrial conferences:

TRIAL COUNSEL:
     Government: Linda Marshall, Kathleen Mahoney and paralegal Elsie Robinson
     Case Agent: Special Agents Julia Jenson of the FBI and Adam Jobes of the IRS
     Defense: Pat McInerney and Steven Aaron for defendant Angela Clark
              Charles Eblen for defendant Cynthia Jordan


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        Defendants Howard, Brown, Guerra, Simpson, Salas, Smith, Romero, Edwards, Gerald
Williams, Judith Williams, Jones and Cadenhead have all entered guilty pleas. Defendant Jackson
has a change of plea set for May 18, 2010.


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                 Gregory Emerson and James Brown for defendant Anahit Nshanian
                 Angela Hasty for defendant Enrico McClain

OUTSTANDING MOTIONS: At the time of the pretrial conference there were no pending
motions. Since the pretrial conference the following motions have been filed:
Government motions:
(1) Motion to Amend the Indictment by Interlineation to Correct Clerical Errors (doc. # 323);
(2) Motion in Limine Regarding Personal Information of Defendant Jerome Howard and Non-parties
(doc. # 335);
(3) Motion in Limine Regarding Advice of Counsel (doc. # 336);
(4) Motion in Limine Regarding Impeachment of Witnesses (doc. # 337).

Defense motions:
(5) Defendant’s [McClain] Response to the Government’s Notice of Its Intent to Offer Evidence of
Other Crimes and Motion in Limine to Exclude Such Evidence (doc. # 333);
(6) Defendant Cynthia Jordan’s Motion in Limine to Preclude the Testimony of Expert Witness
Sandra G. Thomas (doc. # 338);
(7) Defendant Angela R. Clark’s Motions in Limine (doc. # 341);
(8) Defendant’s [Jackson] Motion in Limine (doc. # 345)(adopts portions of defendant Clark’s
motions in limine)
(9) Defendant Cynthia Jordan’s Motion in Limine to Preclude the Testimony of Government Expert
Witnesses Regarding Whether Defendant Had the Requisite Mental State for the Crimes Charged
(doc. # 346);
(10) Defendant’s [McClain] Motion in Limine To Exclude Evidence (doc. # 348)(adopting the
motion in limine of co-defendant Clark)

TRIAL WITNESSES:
     Government: 32 with stipulations
     Defendants: 8 witnesses, including defendant Clark
                 6 witnesses, including defendant Jordan
                 4 witnesses, including defendant Nshanian
                 5 witnesses, including defendant McClain

       Expert Witnesses: Government counsel plans on calling two experts in the areas of real
       estate and lending decisions. Defendant Jordan may call an expert on underwriting and the
       mortgage brokerage business.

TRIAL EXHIBITS
     Government: 2200 exhibits (grouped by topic)
     Defendants: 150 exhibits for defendant Clark
                 150 exhibits for defendant Jordan
                  50 exhibits for defendant Nshanian
                   0 exhibits for defendant McClain

DEFENSES: General denial

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POSSIBLE DISPOSITION:
          (X) Definitely for trial; ( ) Possibly for trial; ( ) Likely a plea will be worked out

TRIAL TIME: 9-10 days
     Government’s case including jury selection: 5 days
     Defense case: 4 days for all defendants
     Please Note: Government counsel believes the case can be tried in two weeks. Counsel for
     defendant Clark believes there is a chance the trial will spill over into a third week.

STIPULATIONS: The parties have agreed to stipulations concerning chain of custody; some
business records; the materiality of certain representations; the fact of interstate commerce; the
transfer of funds for purchases of certain properties; email addresses and fax numbers; and the loan
amounts actually funded.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: Friday before the pretrial conference
       Defense: Friday before the pretrial conference
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday, May 19, 2010
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motions in Limine: All motions in limine must be filed on or before April 26, 2010. Any
       suggestions in opposition must be filed on or before May 7, 2010.

TRIAL SETTING: The case is specially set to commence on May 24, 2010
Please note: The parties request a larger pool of jurors, at least 75 potential jurors.

IT IS SO ORDERED.


                                                              /s/ Sarah W. Hays
                                                               SARAH W. HAYS
                                                     UNITED STATES MAGISTRATE JUDGE




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